                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

EDELSON PC, an Illinois professional                       )   Case No.: 1:20-cv-07115
corporation,                                               )
                                                           )   Hon. Matthew F. Kennelly
                  Plaintiff,                               )
         v.                                                )
                                                           )
 THOMAS GIRARDI, an individual,                            )     DEFENDANTS’ REQUEST FOR
 GIRARDI KEESE, a California general                       )     THIS COURT TO AMEND ITS
 partnership, ERIKA GIRARDI a/k/a ERIKA )                        ORDER REGARDING
 JAYNE, an individual, EJ GLOBAL LLC, a )                        DEFENDANTS’ MOTION FOR
 California limited liability company,                     )     SUMMARY JUDGMENT
 GIRARDI FINANCIAL, INC., a Nevada                         )     [DOCKET #171] TO INCLUDE
 corporation, DAVID LIRA, an individual,                   )     A CERTIFICATION
 KEITH GRIFFIN, an individual,                             )     PURSUANT TO 28 USC §1292
 JOHNSTON HUTCHINSON & LIRA LLP, )                               AND REQUEST FOR STAY OF
 a California limited liability partnership,               )     THIS ACTION
 ROBERT FINNERTY, an individual,                           )
 ABIR COHEN TREYZON SALO, LLP, a                           )
 California limited liability partnership,                 )
 CALIFORNIA ATTORNEY LENDING II,                           )
 INC., a New York corporation, STILLWELL )
 MADISON, LLC, a Delaware limited                          )
 liability company, and JOHN DOE 1-10,                     )
                                                           )
                 Defendants.                               )
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       TO THIS HONORABLE COURT:

       On August 9, 2022, this Court issued a Memorandum Opinion and Order (“Order”)
regarding Defendant Griffin and Lira’s motions for summary judgment. [Docket #171.] One
of the central legal issues in the Order, and these proceedings going forward, is whether the
fee-sharing agreement, ultimately signed by the Lion Air clients in December 2021, is an
enforceable contract. This crux of this dispute hinges on whether the contract complied with
the Illinois Rules of Professional Conduct, Rule 1.5(e). This Court held that “Declining to
enforce the fee-sharing agreement in this case would effectively nullify the will of the Lion
Air clients and, therefore, Rule 1.5's reason for being. The Lion Air clients did ultimately
agree to the fee split. The Court concludes that the timing of that consent does not render the
agreement unenforceable.” [See, page 10.]
       This is a controlling question of law which materially affects the ultimate termination
of this litigation. Accordingly, Defendants Griffin and Lira request that this Court
amend its Order to state: “This order involves a controlling question of law as to which
there is substantial ground for difference of opinion and that an immediate appeal from
the order may materially advance the ultimate termination of the litigation pursuant to
28 USCA 1292(b).”


       28 USCA 1292(b) states in full:
       When a district judge, in making in a civil action an order not otherwise
       appealable under this section, shall be of the opinion that such order involves
       a controlling question of law as to which there is substantial ground for
       difference of opinion and that an immediate appeal from the order may
       materially advance the ultimate termination of the litigation, he shall so state
       in writing in such order. The Court of Appeals which would have jurisdiction
       of an appeal of such action may thereupon, in its discretion, permit an appeal
       to be taken from such order, if application is made to it within ten days after
       the entry of the order: Provided, however, That application for an appeal
       hereunder shall not stay proceedings in the district court unless the district
       judge or the Court of Appeals or a judge thereof shall so order.

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       Here, the answer to this legal inquiry will control the outcome of this
litigation. Absent an immediate appeal of this issue, the parties will be required to conduct
an entire trial before this issue is resolved by the Court of Appeals.
       First, this issue is a “controlling question of law.” For purposes of certifying
interlocutory decision, a “controlling question of law” is one which is serious to the conduct
of the litigation, either practically or legally. Board of Ed. of Tp. High School Dist. No. 214,
Cook County, Ill. v. Climatemp, Inc., N.D.Ill.1981, 91 F.R.D. 245. All that must be shown
for question to be a “controlling question of law” as required for certification of interlocutory
appeal is that resolution of issue on appeal could materially affect outcome of litigation in
district court. In re Cement Antitrust Litigation (MDL No. 296), C.A.9 (Ariz.) 1981, 673
F.2d 1020, cause dismissed 103 S.Ct. 285, 459 U.S. 961, 74 L.Ed.2d 272, affirmed 103 S.Ct.
1173, 459 U.S. 1190, 75 L.Ed.2d 425. Here, the application of the undisputed facts to the
interpretation of the Illinois Rules of Professional Conduct, Rule 1.5(e) will dispose of this
entire action if the Court of Appeal reverse’s this Court’s Order.
       Second, there is “substantial ground for difference of opinions.” Where a district
court's non-final ruling involves a controlling question of law as to which there is substantial
ground for difference of opinion, an immediate appeal which may materially advance the
ultimate termination of the litigation, and which involves a new legal question or is of special
consequence, the district court should not hesitate to certify an interlocutory appeal.
Mohawk Indus., Inc. v. Carpenter, 558 U.S. 100, 106-107; see also Balintulo v. Daimler AG,
(N.Y.) 2013, 727 F.3d 174 (“the district court should not hesitate to certify an interlocutory
appeal.”). This Court acknowledges that the language of “will receive” in Rule 1.5(e)
indicates that the client must agree to the arrangement before the attorneys actually divide
any fees. This Court also acknowledges the ABA commentary of the model opines that client
consent "must be completed before or within a reasonable time after the commencement of
the representation." ABA Comm. on Ethics & Prof'l Responsibility, Formal Op. 16-474
(2016). However, this Court found that such commentary is “merely advisory” and then

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reaches a different conclusion than the advisory opinion. This conflict is a “substantial
ground for difference of opinions.”
       Third, an interlocutory appeal will “advance the termination of litigation.” Where
immediate appeal from order might materially advance ultimate termination of litigation,
such a case is a proper one for interlocutory appeal.         Bell v. Georgia Dental Ass'n,
(N.D.Ga.1964) 231 F.Supp. 299. Here, the entire case will be dismissed if the Court of
Appeal disagrees with this Court’s order and such a decision will save significant judicial and
party resources from a protracted and expensive litigation.
       Accordingly, for the foregoing reasons, Defendants Griffin and Lira request that this
Court amend its order to include the following language: “This order involves a controlling
question of law as to which there is substantial ground for difference of opinion and that an
immediate appeal from the order may materially advance the ultimate termination of the
litigation pursuant to 28 USCA 1292(b).”
       Further, Defendants request a stay of this action until the conclusion of any such appeal
of this Order. Counsel for Edelson was asked to stipulate to this request, but Edelson declined
to stipulate.


                                                   Respectfully submitted,

                                                   /s/ Ryan Saba
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